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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ANTHONY HART,

       Plaintiff,
                                                Case No. 16-10253
v.
                                                HON. DENISE PAGE HOOD
COUNTY OF HILLSDALE, et al.,

     Defendants.
_________________________________/

             ORDER DENYING PLAINTIFF’S MOTION
FOR LEAVE TO REVISE PROPOSED SECOND AMENDED COMPLAINT
 [#99], GRANTING DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S
        SECOND AMENDED COMPLAINT [#112], and ORDERING
    THE CLERK OF THE COURT TO STRIKE SECOND AMENDED
           COMPLAINT FILED ON JANUARY 11, 2018 [#110]

       On March 31, 2017, the Court granted in part and denied in part Plaintiff’s June

21, 2016 Motion to File a Second Amended Complaint and ordered Plaintiff to file

the proposed Second Amended Complaint attached to that motion. [Dkt. No. 68]

Rather than file the proposed Second Amended Complaint as ordered by the Court,

Plaintiff promptly filed a motion for reconsideration of two of the Court’s Orders.

Plaintiff asked the Court to reconsider is Orders: (a) granting a motion to dismiss filed

by Defendants Melissa Marinoff and Marci Kelley; and (b) denying Plaintiff’s June

21, 2016 Motion to file a Second Amended Complaint as it related to Marinoff and


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Kelley.

      On September 11, 2017, Plaintiff filed a Motion for Leave to Revise Proposed

Second Amended Complaint [Dkt. No. 99], and both the County of Hillsdale

Defendants and the City of Hillsdale Defendants filed responses. On January 11,

2018, Plaintiff filed a Second Amended Complaint that contained the allegations set

forth in the revised proposed Second Amended Complaint – even though leave to file

the revised proposed Second Amended Complaint had not been approved by the

Court. [Dkt. No. 110] On January 25, 2018, the County of Hillsdale Defendants filed

a Motion to Strike the January 11, 2018 Second Amended Complaint. [Dkt. No. 112]

On January 26, 2018, the City of Hillsdale Defendants concurred in the Motion to

Strike.

      The Court finds that Plaintiff lacked the right to file the revised Second

Amended Complaint on January 11, 2018. In order to file that revised Second

Amended Complaint, he had to obtain leave of the Court. And, although Plaintiff

filed a motion for leave to file the revised Second Amended Complaint, the Court

never granted Plaintiff leave to do so. As set forth in the Court’s Order granting

Plaintiff’s corrected motion for reconsideration [Dkt. No.127], the Court has ordered

Plaintiff to file the proposed Second Amended Complaint he attached to his June 21,

2016 Motion for Leave to File a Second Amended Complaint.


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        For those reasons, the Court: (a) denies Plaintiff’s September 11, 2017 Motion

for Leave to Revise Proposed Second Amended Complaint [Dkt. No. 99]; (b) grants

the Motion to Strike the Second Amended Complaint filed on the docket on January

11, 2018 [Dkt. No. 112]; and (c) orders that the Second Amended Complaint filed on

January 11, 2018 [Dkt. No. 110] be stricken from the docket.

        Accordingly,


        IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to Revise

Proposed Second Amended Complaint [Dkt. No. 99] is DENIED.

        IT IS FURTHER ORDERED that the Motion to Strike [Dkt. No. 112] is

GRANTED.

        IT IS FURTHER ORDERED that the Clerk of the Court STRIKE FROM

THE DOCKET the Second Amended Complaint filed on January 11, 2018 [Dkt. No.

110].

        IT IS ORDERED.

                           S/Denise Page Hood
                           Denise Page Hood
                           Chief Judge, United States District Court

Dated: March 30, 2018




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I hereby certify that a copy of the foregoing document was served upon counsel of
record on March 30, 2018, by electronic and/or ordinary mail.

                        S/LaShawn R. Saulsberry
                        Case Manager




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